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           IN THE UNITED STATES DISTRICT COURT FOR THE
 8                EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,
                                             NO. CR 2:07-00570 FCD
10
               Plaintiff,
11                                         ORDER GRANTING MOTION TO
         v.                                     EXONERATE BOND
12                                         AND RETURN PROPERTY
     TARSEM SINGH,
13
               Defendant.
14

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16        The Court finds that on February 15, 2008, Mr.
17   Singh was released pursuant to an secured bond in the
18
     amount of $66,000 which was held in the form of
19
     available equity in the property listed below, and co-
20
     signed by his wife, Ranjit Kaur, Manisha Goodwin, and
21

22
     Bagawan Singh,. On February 13, 2008, the following

23   vehicle titles of ownership were forfeited into the

     ORDER GRANTING MOTION TO                         The Crowley Law Firm, PLLC
     EXONERATE BOND AND RETURN                                       Smith Tower
                                                          506 Second Avenue, Suite 1015
     PROPERTY                                               Seattle, Washington 98104
                                                     Tel (206) 625-7500 ♦ Fax (206) 625-1223
             Case 2:07-cr-00570-KJM Document 299 Filed 03/16/12 Page 2 of 3


 1   custody of the Clerk’s Office in order to secure the
 2   bond amount:
 3
          1990 Volvo/WHGM Commercial Truck,
 4
          VIN# 4V1WDBCH7LN62706; 1992 Ford Service Truck,
 5
          VIN# 1FDKE37M0NHB07087; 1996 Dodge Caravan,
 6

 7
          VIN# 2B4FK51GR760759; 2002 Toyota Sequoia,

 8        VIN# JT3HN86R829069658; 1995 Buick Regal,

 9        VIN# 2G4WB52L0S1437525; and 1992 Fleetwood
10
          Berkshire 28’ by 40’ three bedroom, two bath
11
          mobile home, serial No. 3900 located at 31813 21st
12
          Ave. South, Federal Way, WA 98023.
13

14

15        On December 1, 2010, an order was signed to return

16   the collateral including the 2002 Toyota Sequoia and

17   1995 Buick Regal which have been returned to their
18
     owners, leaving the remaining three vehicle titles in
19
     the custody of the Court until the conclusion of the
20
     case.
21
          Currently, Mr. Singh’s case is closed and he has
22

23   satisfied all of his obligations to the Court.

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           Case 2:07-cr-00570-KJM Document 299 Filed 03/16/12 Page 3 of 3


 1        THEREFORE, it is hereby ORDERED that the remaining
 2   titles held by the Court for bond in this cases is
 3
     hereby ordered exonerated and that the Clerk of the
 4
     Court is directed to reconvey to the surety, Ranjit
 5
     Kaur, property posted on behalf of Mr. Singh.
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 7
     Dated: March 16, 2012.

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     ORDER GRANTING MOTION TO                         The Crowley Law Firm, PLLC
     EXONERATE BOND AND RETURN                                       Smith Tower
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     PROPERTY                                               Seattle, Washington 98104
                                                     Tel (206) 625-7500 ♦ Fax (206) 625-1223
